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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA                        §
                                                §
v.                                              §
                                                §     NO. 3:19-CR-0083-M
RUEL M. HAMILTON                                §
                                                §


                                          ORDER

         Before the Court are the Defendant’s Objections to the Magistrate Judge’s Order

 Revoking Pretrial Release (ECF No. 240). While this Court agrees that the Defendant violated a

 condition of his pretrial release and that the violation was very serious, the Objections are

 sustained only as to the remedy. It is ORDERED that the conditions of release set in this case

 be, and they are hereby, AMENDED as set forth in the attached additional conditions of release,

 signed by the Defendant and his spouse as third-party custodian.

       SO ORDERED.

       July 31, 2020.
                                                               ______________________________
                                                               BARBARA M. G. LYNN
                                                               CHIEF JUDGE
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